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WESTERN DISTRICT 0F TENNESSEL§S JUL 28 w "
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MICHAEL WILLIAMS JUDGMENT IN A CIVIL CASE
SHELBY COUNTY GOVERNMENT, et &1. CASE NO: 04-2489*D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Defendants' Mot.ion For Sumna.ry J‘udg'ment (Dkt. #15) entered
on July 13, 2005, this cause is hereby dismissed.

APPROVED:

 

ITED STATES DISTRICT COURT
ad 1’eTH0MAS M. Gouz,b

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TRICT COURT - WESTNERDT"ISIC oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02489 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

